                                           UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF TENNESSEE

              In re: LEGACY INTERACTIVE, INC.                                                   § Case No. 3:17-07878-CMW
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on November 17, 2017. The undersigned trustee was appointed on November 17, 2017.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $               883,298.48

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                          393,792.77
                                    Administrative expenses                                          56,464.83
                                    Bank service fees                                                17,350.88
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                             10,225.29
                                    Exemptions paid to the debtor                                         0.00
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $               405,464.71
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)


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               6. The deadline for filing non-governmental claims in this case was 03/05/2018
       and the deadline for filing governmental claims was / / . All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $46,903.66. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $24,500.00 as interim compensation and now requests the
       sum of $22,403.66, for a total compensation of $46,903.66.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $205.63, for total expenses of
               2
       $205.63.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 02/22/2022                    By: /s/SUSAN R. LIMOR, TRUSTEE
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)


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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 3:17-07878-CMW                                                            Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        LEGACY INTERACTIVE, INC.                                             Filed (f) or Converted (c): 11/17/17 (f)
                                                                                       §341(a) Meeting Date:        12/18/17
Period Ending: 02/22/22                                                                Claims Bar Date:             03/05/18

                                 1                                       2                        3                      4            5                   6

                    Asset Description                                 Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                     and Other Costs)                                       Remaining Assets

 1       Checking Account Account at First Bank, Lexingto               28,126.00                  23,467.16                          23,467.16                   FA
          Account ending in 4978.
         12/04/17 - Rcvd check in the amount of $23,467.16.
         Asset fully administered.

 2       128,781 shares of common stock of Augeo Affinity            1,500,000.00                 383,985.11                         383,985.11                   FA
          Correct amount of shares = 128,601 (per Stock
         Certificate No. 441). Discrepancy between this and
         scheduled amount represents clerical error found on
         Schedule B.


         07/24/18 - Status Update for Annual Reports for
         Period Ended June 30, 2018: Trustee is in the
         process of attempting to value the asset and solicit
         sale of such asset. The true value of the asset is still
         unknown to Trustee at this time; therefore, Trustee has
         assigned a value of $1.00 to "Column 3: Estimated
         Net Value..."


         01/02/19 - Trustee sold 45,713 of 128,601 shares
         back to Augeo Affinity Marketing, Inc. @ $8.40/share.
         See Statement of Sale filed 01.15.19 (Doc 35).
         Trustee still retains 82,888 shares, which she will
         attempt to market and sell to an unrelated third party.


         07/17/19 - Status Update for Annual Reports for
         Period Ended June 30, 2019: Trustee is in the
         process of attempting to solicit sale of remaining
         shares. The true value of the asset is still unknown to
         Trustee at this time; therefore, Trustee has assigned a
         value of $1.00 to "Column 3: Estimated Net Value..."


         TRUSTEE TO SELL REMAINING INTEREST AS
         PACKAGE DEAL WITH THE REMNANT ASSETS
         (See Asset No. 7). PLEASE REFER TO ASSET NO.
         7 FOR FURTHER DETAILS.

 3       Escrowed cash paid by Augeo Affinity Marketing,                92,155.05                  92,473.04                          92,473.04                   FA
          On January 9, 2017, Legacy Interactive, Inc. fka edo
         Interactive, Inc. entered into an Escrow Agreement

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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 3:17-07878-CMW                                                            Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        LEGACY INTERACTIVE, INC.                                             Filed (f) or Converted (c): 11/17/17 (f)
                                                                                       §341(a) Meeting Date:        12/18/17
Period Ending: 02/22/22                                                                Claims Bar Date:             03/05/18

                                1                                       2                         3                      4            5                   6

                    Asset Description                                Petition/           Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled      (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                      Values           Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                     and Other Costs)                                       Remaining Assets

         after it sold substantially of its assets to Augeo CLO,
         Inc. The Escrow Agreement named U.S. Bank
         National Association as the escrow agent ("Escrow
         Agent"). Pursuant to the Escrow Agreement, the
         Purchaser transferred $325,000.00 into an account
         designated by the Escrow Agent.


         01/05/18 - Per escrow agreement, the escrow period is
         to terminate on January 8, 2018. Letter sent to the
         Escrow Agent requesting turnover of funds in account.


         01/22/18 - Rcvd check in the amount of $92,473.04.
         Trustee investigating whether all claims against the
         escrowed funds were valid.


         07/24/18 - Status Update for Annual Reports for
         Period Ended June 30, 2018: Trustee investigating
         whether all claims against the escrowed funds were
         valid. The true value of the asset is still unknown to
         Trustee at this time; therefore, Trustee has assigned a
         value of $1.00 to "Column 3: Estimated Net Value..."


         07/17/19 - Status Update for Annual Reports for
         Period Ended June 30, 2019: Trustee continues to
         investigate whether all claims against the escrowed
         funds were valid. The true value of the asset is still
         unknown to Trustee at this time; therefore, Trustee has
         assigned a value of $1.00 to "Column 3: Estimated
         Net Value..."


         08/27/19 - Dean Armstrong, Attorney for Trustee,
         reviewed case and determined the claims against the
         escrowed funds were valid. Asset deemed
         abandoned.


 4       Escrowed 42,867 shares of stock of Augeo Affinit              500,000.00                 360,082.80                         360,082.80                   FA
          07/24/18 - Status Update for Annual Reports for
         Period Ended June 30, 2018: Trustee is in the


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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 3:17-07878-CMW                                                            Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        LEGACY INTERACTIVE, INC.                                             Filed (f) or Converted (c): 11/17/17 (f)
                                                                                       §341(a) Meeting Date:        12/18/17
Period Ending: 02/22/22                                                                Claims Bar Date:             03/05/18

                                 1                                       2                        3                      4            5                   6

                    Asset Description                                 Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                     and Other Costs)                                       Remaining Assets

         process of attempting to value the asset and solicit
         sale of such asset. The true value of the asset is still
         unknown to Trustee at this time; therefore, Trustee has
         assigned a value of $1.00 to "Column 3: Estimated
         Net Value..."


         01/02/19 - Trustee sold shares back to Augeo Affinity
         Marketing, Inc. @ $8.40/share. See Statement of Sale
         filed 01.15.19 (Doc 35). Asset fully administered.

 5       Interest Adjustment re Account Ending 3217 (u)                      0.00                      30.87                              30.87                   FA
          Received a check from Fifth Third Bank made
         payable to Edo Interactive, Inc. The check is for
         $30.87 and represents an interest adjustment on an
         account ending in 3217. Asset fully administered.

 6       Possible Preferential and/or Fraudulent Transfer (u)                0.00                       0.00                               0.00                   FA
          Trustee is in the process of requesting, receiving and
         reviewing bank records to determine if the Debtor
         made payments/transfers prior to filing this bankruptcy
         that the Trustee can avoid as either preferential and/or
         fraudulent transfers and recover on behalf of the
         bankruptcy estate.


         07/24/18 - Status Update for Annual Reports for
         Period Ended June 30, 2018: Trustee is in the
         process of receiving the bank statements. Upon
         receipt, Trustee to perform an extensive review of the
         Debtor's bank records and compile a spreadsheet of
         possible preferential and/or fraudulent transfers. The
         true value of the asset is still unknown to Trustee at
         this time; therefore, Trustee has assigned a value of
         $1.00 to "Column 3: Estimated Net Value..."


         07/17/19 - Status Update for Annual Reports for
         Period Ended June 30, 2019: Trustee has received,
         reviewed and analyzed bank statements for possible
         preferential and/or fraudulent transfers. Outside
         litigation attorney is in the process of reviewing
         Trustee's findings to determine if possible causes of

                 Case 3:17-bk-07878                           Doc 88     Filed 03/22/22 Entered 03/22/22 08:44:34           Desc
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 3:17-07878-CMW                                                           Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        LEGACY INTERACTIVE, INC.                                            Filed (f) or Converted (c): 11/17/17 (f)
                                                                                      §341(a) Meeting Date:        12/18/17
Period Ending: 02/22/22                                                               Claims Bar Date:             03/05/18

                                1                                       2                        3                      4            5                   6

                    Asset Description                                Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                    and Other Costs)                                       Remaining Assets

         action. The true value of the asset is still unknown to
         Trustee at this time; therefore, Trustee has assigned a
         value of $1.00 to "Column 3: Estimated Net Value..."


         08/27/19 - Dean Armstrong, Attorney for Trustee,
         reviewed case and determined no viable causes of
         actions for the estate. Asset deemed abandoned.

 7       Refunds/Remnant Assets (u)                                         0.00                  13,034.21                          23,259.50                   FA
          08/21/19 - Rcvd refund check from Shred-It USA
         LLC in the amount of $34.21.


         REMNANT ASSETS:
         Oak Point Partners offered to purchase the remaining
         stock relating to Asset No. 2 and remnant assets.
         Remnant assets might include unscheduled refunds,
         overpayments, deposits, judgments, claims, or other
         payment rights that would accrue in the future.


         06/24/20 - Parties agree that Trustee will sell
         remaining stock relating to Asset No. 2 and remnant
         assets to Oak Point Partners for $11k. Such sale is
         subject to the upset bidder procedure and approval by
         the bankruptcy court. See Motion filed 06.24.20 (DE
         60).


         07/13/20 - An upset bidder filed an objection offering
         to purchase for $13k. See Docket Entry 62.


         07/17/20 - Status Update for Annual Reports for
         Period Ended June 30, 2020: Oak Point Partners has
         declined to participate in an auction. Trustee to sell
         the assets to the upset bidder for $13k.


         Trustee sold asset to JM Partners, LLC for $13k per
         Agreed Order Resolving Objection/Upset Bid and
         Authorizing Sale of Property of the Estate entered
         July 30, 2020 (Docket Entry 65). See Trustee's
         Statement of Sale filed 10.13.20 (Docket Entry 67) for


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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 3:17-07878-CMW                                                                    Trustee:          (620530)        SUSAN R. LIMOR, TRUSTEE
Case Name:        LEGACY INTERACTIVE, INC.                                                     Filed (f) or Converted (c): 11/17/17 (f)
                                                                                               §341(a) Meeting Date:             12/18/17
Period Ending: 02/22/22                                                                        Claims Bar Date:                  03/05/18

                                1                                             2                             3                           4                     5                     6

                    Asset Description                                    Petition/              Estimated Net Value               Property              Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                      Unscheduled         (Value Determined By Trustee,         Abandoned              Received by        Administered (FA)/
                                                                          Values              Less Liens, Exemptions,            OA=§554(a)              the Estate         Gross Value of
Ref. #                                                                                            and Other Costs)                                                         Remaining Assets

         further details. Asset fully administered.


         01/10/22 - Rcvd refund from TN DOR in the amount of
         $10,225.29. Funds represent a remnant asset to be
         returned to JM Partners, LLC at the end of the case.




 7       Assets      Totals (Excluding unknown values)                  $2,120,281.05                      $873,073.19                                     $883,298.48                     $0.00



     Major Activities Affecting Case Closing:

                  12/04/17 - Notice of Assets filed. Claims bar date is 03.05.18. See Docket Entry 9.


                  04/05/18 - Trustee determined that there are sufficient funds to pay all allowed claims in full with surplus funds to distribute to creditors that have not filed claims. Order
                  and Notice to File Claims Against Surplus Funds submitted with the Court. Deadline to file claim is 05.02.18. See Order and Notice of Surplus Funds entered 04.06.18
                  (Doc 20).


                  07/24/18 - Status Update for Annual Reports for Period Ended June 30, 2018:
                  1. Finalize request and review of bank statements.
                  2. Investigate possible preferential and/or fraudulent transfers made by the Debtor; attempt to avoid and recover on behalf of bankruptcy estate.
                  3. Attempt to sell shares of stock.


                  07/17/19 - Status Update for Annual Reports for Period Ended June 30, 2019:
                  1. Finalize investigation of possible preferential and/or fraudulent transfers made by the Debtor; attempt to avoid and recover on behalf of bankruptcy estate.
                  2. Attempt to sell remaining shares of stock.
                  3. Accountant prepare and file estate tax returns.
                  4. Application for compensation for professionals.
                  5. CLOSE CASE.


                  07/17/19 - Motion to Award Interim Trustee Compensation and Allow Interim Distribution filed (Doc 45). Order approving entered 08.14.19 (DE 52).


                  07/17/20 - Status Update for Annual Reports for Period Ended June 30, 2020:
                  1. Attempt to sell remaining shares of stock & remnant assets. Motion filed 06.24.20. Upset Bidder Objection filed 07.13.20.
                  2. Accountant prepare and file estate tax returns.
                  3. Application for compensation for professionals.
                  4. CLOSE CASE.


                  07/19/21 - Status Update for Annual Reports for Period Ended June 30, 2021:


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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 3:17-07878-CMW                                                              Trustee:        (620530)     SUSAN R. LIMOR, TRUSTEE
Case Name:       LEGACY INTERACTIVE, INC.                                                Filed (f) or Converted (c): 11/17/17 (f)
                                                                                         §341(a) Meeting Date:        12/18/17
Period Ending: 02/22/22                                                                  Claims Bar Date:             03/05/18

                              1                                           2                          3                      4                  5                   6

                    Asset Description                                  Petition/          Estimated Net Value           Property           Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled     (Value Determined By Trustee,     Abandoned           Received by     Administered (FA)/
                                                                        Values          Less Liens, Exemptions,        OA=§554(a)           the Estate      Gross Value of
Ref. #                                                                                      and Other Costs)                                               Remaining Assets

                1. Accountant prepare and file estate tax returns. (substitute accountant employed 04.29.21)
                2. Application for compensation for professionals.
                3. CLOSE CASE.


     Initial Projected Date Of Final Report (TFR):     June 30, 2019                       Current Projected Date Of Final Report (TFR):     February 22, 2022 (Actual)




                Case 3:17-bk-07878                       Doc 88           Filed 03/22/22 Entered 03/22/22 08:44:34           Desc
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                                                                                       Form 2                                                                                       Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:         3:17-07878-CMW                                                                      Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           LEGACY INTERACTIVE, INC.                                                            Bank Name:          Mechanics Bank
                                                                                                         Account:            ******2566 - Checking Account
Taxpayer ID #:       **-***4122                                                                          Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 02/22/22                                                                                  Separate Bond: N/A

   1             2                            3                                         4                                                5                   6                  7

 Trans.    {Ref #} /                                                                                                                 Receipts         Disbursements          Checking
  Date     Check #            Paid To / Received From                   Description of Transaction                  T-Code              $                   $             Account Balance
12/04/17       {1}         edo Interactive                      Balance in Checking Account                         1129-000             23,467.16                               23,467.16
12/29/17                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                      28.12          23,439.04
01/22/18       {3}         US Bank National Association         Balance in Escrow Account                           1129-000             92,473.04                             115,912.08
01/26/18     101           INTERNATIONAL SURETIES, LTD          BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                      10.58        115,901.50
                                                                BALANCE AS OF 01/01/2018 FOR CASE
                                                                #317-07878, Chapter 7 Blanket Bond for
                                                                01/01/18 to 01/01/19; Bond #016026373
01/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                      76.98        115,824.52
02/28/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     155.49        115,669.03
03/30/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     166.37        115,502.66
04/30/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     160.59        115,342.07
05/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     182.50        115,159.57
06/29/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     160.11        114,999.46
07/12/18       {5}         Fifth Third Bank                     Interest Adjustment re Account Ending 3217          1229-000                  30.87                            115,030.33
07/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     176.45        114,853.88
08/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     170.70        114,683.18
09/28/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                      87.97        114,595.21
10/31/18                   Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     103.60        114,491.61
11/13/18     102           Fifth Third Bank Legal Entry         Subpoena Research Billing Invoice re Invoice        2990-000                                      57.39        114,434.22
                                                                Dated 11.07.18 (5/3 ID: 20181105000007)
01/02/19                   Land Title, Inc.                     Sale of Stock per Order Authorizing Sale of                            744,067.91                              858,502.13
                                                                Property of the Estate entered 12.20.18 (Doc
                                                                33); and Statement of Sale dated 01.15.19
                                                                (Doc 35).
               {4}                                                                                360,082.80        1129-000                                                   858,502.13
               {2}                                                                                383,985.11        1129-000                                                   858,502.13
01/15/19     103           Clerk, U.S. Bankruptcy Court         Court Fee for Motion to Sell filed 12/12/18         2700-000                                     181.00        858,321.13
                                                                (Docket Entry 27).
02/12/19     104           INTERNATIONAL SURETIES, LTD          BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                     121.55        858,199.58
                                                                BALANCE AS OF 01/01/2019 FOR CASE
                                                                #317-07878, Chapter 7 Blanket Bond for
                                                                01/01/19 to 01/01/20; Bond 016026373
06/04/19     105           U.S. Bank N.A.                       Subpoena Research Billing Invoice re Invoice        2990-000                                      28.40        858,171.18
                                                                Dated 05.21.19 (Invoice No. S2018-15237)
08/21/19       {7}         Shred-It USA LLC                     Refund of Account                                   1229-000                  34.21                            858,205.39
08/29/19     106           Limor & Johnson, Attorneys at Law    Attorney Fees and Expenses per Order                                                          6,707.23         851,498.16
                                                                Awarding Compensation to Attorneys for
                                                                Trustee entered 08.14.19 (Doc 51)

                                                                                                          Subtotals :                 $860,073.19            $8,575.03
                   Case 3:17-bk-07878
{} Asset reference(s)
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                                                      Cash Receipts And Disbursements Record
Case Number:         3:17-07878-CMW                                                                      Trustee:              SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           LEGACY INTERACTIVE, INC.                                                            Bank Name:            Mechanics Bank
                                                                                                         Account:              ******2566 - Checking Account
Taxpayer ID #:       **-***4122                                                                          Blanket Bond:         $720,000.00 (per case limit)
Period Ending: 02/22/22                                                                                  Separate Bond: N/A

   1             2                          3                                           4                                                  5                    6                  7

 Trans.    {Ref #} /                                                                                                                   Receipts         Disbursements           Checking
  Date     Check #            Paid To / Received From                  Description of Transaction                     T-Code              $                   $              Account Balance
                                                                  Attorney Fees                      6,457.00        3110-000                                                     851,498.16
                                                                  Attorney Expenses                    250.23        3120-000                                                     851,498.16
08/29/19     107           SUSAN R. LIMOR, TRUSTEE             Interim Trustee Compensation per Trustee's            2100-000                                   24,500.00         826,998.16
                                                               Motion to Award Interim Trustee
                                                               Compensation filed 07/17/19 (Doc 45); and
                                                               Order Awarding Trustee
                                                               Compensation entered 08/14/19 (Doc 52).
08/29/19     108           Dallas County                       Dividend paid 100.00% on $136.35; Claim# 02           5800-000                                       136.35        826,861.81
                                                               - Interim Distribution per Trustee's Motion
                                                               to Allow Interim Distribution filed 07/17/19
                                                               (Doc 45); and Order Allowing Interim
                                                               Distribution entered 08/14/19 (Doc 52).
08/29/19     109           Metropolitan Government of          Dividend paid 100.00% on $2,889.39; Claim#            5800-000                                    2,889.39         823,972.42
                           Nashville & Davidson County Tenne   03 - Interim Distribution per Trustee's Motion
                                                               to Allow Interim Distribution filed 07/17/19
                                                               (Doc 45); and Order Allowing Interim
                                                               Distribution entered 08/14/19 (Doc 52).
08/29/19     110           Tennessee Department of Revenue     Dividend paid 100.00% on $4,924.98; Claim#            5800-000                                    4,924.98         819,047.44
                                                               10P - Interim Distribution per Trustee's Motion
                                                               to Allow Interim Distribution filed 07/17/19
                                                               (Doc 45); and Order Allowing Interim
                                                               Distribution entered 08/14/19 (Doc 52).
08/29/19     111           Department of the Treasury -        Dividend paid 100.00% on $100.00; Claim# 01           7100-000                                       100.00        818,947.44
                           Internal Revenue Service            -2 - Interim Distribution per Trustee's Motion
                                                               to Allow Interim Distribution filed 07/17/19
                                                               (Doc 45); and Order Allowing Interim
                                                               Distribution entered 08/14/19 (Doc 52).
08/29/19     112           VACO NASHVILLE                      Dividend paid 100.00% on $51,777.50; Claim#           7100-000                                   51,777.50         767,169.94
                                                               05 - Interim Distribution per Trustee's Motion
                                                               to Allow Interim Distribution filed 07/17/19
                                                               (Doc 45); and Order Allowing Interim
                                                               Distribution entered 08/14/19 (Doc 52).
08/29/19     113           GCA ADVISORS LLC                    Dividend paid 100.00% on $16,812.00; Claim#           7100-000                                   16,812.00         750,357.94
                                                               06 - Interim Distribution per Trustee's Motion
                                                               to Allow Interim Distribution filed 07/17/19
                                                               (Doc 45); and Order Allowing Interim
                                                               Distribution entered 08/14/19 (Doc 52).
08/29/19     114           CT CORPORATION                      Dividend paid 9.89% on $6,473.76; Claim# 07           7200-000                                       640.47        749,717.47
                                                               - Interim Distribution per Trustee's Motion
                                                               to Allow Interim Distribution filed 07/17/19

                                                                                                             Subtotals :                        $0.00         $101,780.69
                   Case 3:17-bk-07878
{} Asset reference(s)
                                                             Doc 88       Filed 03/22/22 Entered 03/22/22 08:44:34           Desc Main
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                                                  Cash Receipts And Disbursements Record
Case Number:         3:17-07878-CMW                                                                     Trustee:             SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           LEGACY INTERACTIVE, INC.                                                           Bank Name:           Mechanics Bank
                                                                                                        Account:             ******2566 - Checking Account
Taxpayer ID #:       **-***4122                                                                         Blanket Bond:        $720,000.00 (per case limit)
Period Ending: 02/22/22                                                                                 Separate Bond: N/A

   1             2                            3                                        4                                                 5                    6                  7

 Trans.    {Ref #} /                                                                                                                 Receipts         Disbursements           Checking
  Date     Check #            Paid To / Received From                 Description of Transaction                    T-Code              $                   $              Account Balance
                                                              (Doc 45); and Order Allowing Interim
                                                              Distribution entered 08/14/19 (Doc 52).
08/29/19     115           L. Keith Mullins                   Dividend paid 9.89% on $89,518.00; Claim#            7200-000                                    8,856.28         740,861.19
                                                              08U - Interim Distribution per Trustee's Motion
                                                              to Allow Interim Distribution filed 07/17/19
                                                              (Doc 45); and Order Allowing Interim
                                                              Distribution entered 08/14/19 (Doc 52).
08/29/19     116           Tennessee Department of Revenue    Dividend paid 9.89% on $1,175.63; Claim#             7200-000                                       116.31        740,744.88
                                                              10U - Interim Distribution per Trustee's Motion
                                                              to Allow Interim Distribution filed 07/17/19
                                                              (Doc 45); and Order Allowing Interim
                                                              Distribution entered 08/14/19 (Doc 52).
08/29/19     117           RADIUS GGE USA INC                 Dividend paid 9.89% on $32,229.50; Claim#            7200-000                                    3,188.56         737,556.32
                                                              11 - Interim Distribution per Trustee's Motion
                                                              to Allow Interim Distribution filed 07/17/19
                                                              (Doc 45); and Order Allowing Interim
                                                              Distribution entered 08/14/19 (Doc 52).
08/29/19     118           VANTAGE POINT VENTURE              Dividend paid 9.89% on $1,954,114.00;                7200-000                                  193,326.34         544,229.98
                           PARTNERS 2006 (Q), L.P.            Claim# 12 -2 - Interim Distribution per Trustee's
                                                              Motion to Allow Interim Distribution filed
                                                              07/17/19 (Doc 45); and Order Allowing
                                                              Interim Distribution entered 08/14/19 (Doc 52).
08/29/19     119           JIM D. KEVER                       Dividend paid 9.89% on $673,814.00; Claim#           7200-000                                   66,662.44         477,567.54
                                                              14U - Interim Distribution per Trustee's Motion
                                                              to Allow Interim Distribution filed 07/17/19
                                                              (Doc 45); and Order Allowing Interim
                                                              Distribution entered 08/14/19 (Doc 52).
08/29/19     120           FRED C. GOAD                       Dividend paid 9.89% on $445,048.00; Claim#           7200-000                                   44,029.93         433,537.61
                                                              15U - Interim Distribution per Trustee's Motion
                                                              to Allow Interim Distribution filed 07/17/19
                                                              (Doc 45); and Order Allowing Interim
                                                              Distribution entered 08/14/19 (Doc 52).
08/29/19     121           JAMES P. AYLWARD                   Dividend paid 9.89% on $3,358.00; Claim#             7200-000                                       332.22        433,205.39
                                                              16U - Interim Distribution per Trustee's Motion
                                                              to Allow Interim Distribution filed 07/17/19
                                                              (Doc 45); and Order Allowing Interim
                                                              Distribution entered 08/14/19 (Doc 52).
02/10/20     122           INTERNATIONAL SURETIES, LTD        Chapter 7 Blanket Bond from 01.01.20 to              2300-000                                       586.82        432,618.57
                                                              01.01.21; Bond #016026373.
03/31/20                   Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                       345.73        432,272.84

                                                                                                           Subtotals :                        $0.00         $317,444.63
                   Case 3:17-bk-07878
{} Asset reference(s)
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                                                       Cash Receipts And Disbursements Record
Case Number:         3:17-07878-CMW                                                                  Trustee:             SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           LEGACY INTERACTIVE, INC.                                                        Bank Name:           Mechanics Bank
                                                                                                     Account:             ******2566 - Checking Account
Taxpayer ID #:       **-***4122                                                                      Blanket Bond:        $720,000.00 (per case limit)
Period Ending: 02/22/22                                                                              Separate Bond: N/A

   1             2                           3                                      4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From               Description of Transaction                   T-Code              $                  $               Account Balance
04/30/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       690.92        431,581.92
05/29/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       666.82        430,915.10
06/30/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       734.67        430,180.43
07/28/20       {7}         JM Partners LLC                  Sale Proceeds                                       1229-000              13,000.00                              443,180.43
07/31/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       711.19        442,469.24
08/31/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       683.64        441,785.60
09/30/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       753.27        441,032.33
10/13/20       123         Clerk, U.S. Bankruptcy Court     Court Fee for Motion to Sell filed 06/24/20         2700-000                                       181.00        440,851.33
                                                            (Docket Entry 60).
10/30/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       704.92        440,146.41
11/30/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       680.11        439,466.30
12/31/20                   Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                       772.73        438,693.57
01/26/21                   Transition Transfer Debit        Transition Transfer Debit                           9999-000                                  438,693.57                  0.00

                                                                                  ACCOUNT TOTALS                                    873,073.19            873,073.19                $0.00
                                                                                          Less: Bank Transfers                             0.00           438,693.57
                                                                                  Subtotal                                          873,073.19            434,379.62
                                                                                          Less: Payments to Debtors                                              0.00
                                                                                  NET Receipts / Disbursements                     $873,073.19           $434,379.62




{} Asset reference(s)
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                                                        Cash Receipts And Disbursements Record
Case Number:         3:17-07878-CMW                                                                      Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           LEGACY INTERACTIVE, INC.                                                            Bank Name:          Metropolitan Commercial Bank
                                                                                                         Account:            ******6967 - Checking Account
Taxpayer ID #:       **-***4122                                                                          Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 02/22/22                                                                                  Separate Bond: N/A

   1             2                           3                                          4                                                5                    6                  7

 Trans.    {Ref #} /                                                                                                                 Receipts        Disbursements            Checking
  Date     Check #            Paid To / Received From                   Description of Transaction                  T-Code              $                  $               Account Balance
01/26/21                   Transition Transfer Credit           Transition Transfer Credit                          9999-000           438,693.57                               438,693.57
01/28/21     10124         INTERNATIONAL SURETIES, LTD          Chapter 7 Blanket Bond for 01.01.21 to              2300-000                                      367.84        438,325.73
                                                                01.01.22; Bond #016026373
01/29/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      679.60        437,646.13
02/26/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      654.88        436,991.25
03/31/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      770.42        436,220.83
04/30/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      699.14        435,521.69
05/28/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      651.49        434,870.20
06/30/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      766.67        434,103.53
07/30/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      695.75        433,407.78
08/31/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      740.94        432,666.84
09/30/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      693.45        431,973.39
10/29/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      669.26        431,304.13
11/30/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      737.35        430,566.78
12/31/21                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      713.08        429,853.70
01/31/22                   Metropolitan Commercial Bank         Bank and Technology Services Fee                    2600-000                                      665.97        429,187.73
02/15/22     10125         Lewis, Smith & Associates, P.C.      Accountant Fees and Expenses per Order                                                         6,572.48         422,615.25
                                                                Awarding Compensation entered 01.31.22 (DE
                                                                82).
                                                                   Accountant Fees.                2,234.00         3410-000                                                    422,615.25
                                                                   Accountant Expenses.            4,338.48         3420-000                                                    422,615.25
02/15/22     10126         Limor & Johnson, Attorneys at Law    Attorney Fees and Expenses per Order                                                           3,978.73         418,636.52
                                                                Awarding Compensation entered 01.31.22 (DE
                                                                83).
                                                                   Attorney Fees.                  3,451.00         3110-000                                                    418,636.52
                                                                   Attorney Expenses.                527.73         3120-000                                                    418,636.52
02/16/22     10127         Wesler & Associates CPA PC           Accountant Fees and Expenses per Order                                                        12,850.42         405,786.10
                                                                Awarding Compensation entered 02.01.22 (DE
                                                                84).
                                                                   Accountant Fees.               11,822.50         3410-000                                                    405,786.10
                                                                   Accountant Expenses.            1,027.92         3420-000                                                    405,786.10
02/17/22     10128         INTERNATIONAL SURETIES, LTD          Chapter 7 Blanket Bond from 01.01.22 to             2300-000                                      321.39        405,464.71
                                                                01.01.23; Bond #016026373




                                                                                                          Subtotals :                 $438,693.57            $33,228.86
                   Case 3:17-bk-07878
{} Asset reference(s)
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                                                  Cash Receipts And Disbursements Record
Case Number:         3:17-07878-CMW                                                       Trustee:              SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           LEGACY INTERACTIVE, INC.                                             Bank Name:            Metropolitan Commercial Bank
                                                                                          Account:              ******6967 - Checking Account
Taxpayer ID #:       **-***4122                                                           Blanket Bond:         $720,000.00 (per case limit)
Period Ending: 02/22/22                                                                   Separate Bond: N/A

   1             2                         3                               4                                                5                    6                 7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements           Checking
  Date      Check #           Paid To / Received From        Description of Transaction                T-Code              $                  $              Account Balance

                                                                         ACCOUNT TOTALS                                   438,693.57             33,228.86       $405,464.71
                                                                                Less: Bank Transfers                      438,693.57                  0.00
                                                                         Subtotal                                                0.00            33,228.86
                                                                                Less: Payments to Debtors                                             0.00
                                                                         NET Receipts / Disbursements                           $0.00           $33,228.86




{} Asset reference(s)
                     Case 3:17-bk-07878                 Doc 88    Filed 03/22/22 Entered 03/22/22 08:44:34           Desc Main
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                                                  Cash Receipts And Disbursements Record
Case Number:         3:17-07878-CMW                                                                Trustee:             SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           LEGACY INTERACTIVE, INC.                                                      Bank Name:           Metropolitan Commercial Bank
                                                                                                   Account:             ******6645 - Remnant Assets
Taxpayer ID #:       **-***4122                                                                    Blanket Bond:        $720,000.00 (per case limit)
Period Ending: 02/22/22                                                                            Separate Bond: N/A

   1             2                           3                                    4                                                 5                    6                   7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From             Description of Transaction                   T-Code              $                  $                Account Balance
01/10/22       {7}         Sate of Tennessee              Franchise and Excise Tax Refund                     1229-000              10,225.29                                 10,225.29
02/17/22     15125         INTERNATIONAL SURETIES, LTD    Chapter 7 Blanket Bond from 01.01.22 to             2300-000                                       321.39              9,903.90
                                                          01.01.23; Bond #016026373
                                                          Voided on 02/17/22
02/17/22     15125         INTERNATIONAL SURETIES, LTD    Chapter 7 Blanket Bond from 01.01.22 to             2300-000                                       -321.39          10,225.29
                                                          01.01.23; Bond #016026373
                                                          Voided: check issued on 02/17/22
02/18/22     15126         JM Partners LLC                Proceeds from Remnant Asset per Agreed              8500-002                                   10,225.29                   0.00
                                                          Order...Authorizing Sale of Property of the
                                                          Estate...entered 07.30.20 (DE 65).

                                                                                ACCOUNT TOTALS                                      10,225.29            10,225.29                 $0.00
                                                                                        Less: Bank Transfers                             0.00                   0.00
                                                                                Subtotal                                            10,225.29            10,225.29
                                                                                        Less: Payments to Debtors                                               0.00
                                                                                NET Receipts / Disbursements                      $10,225.29            $10,225.29



                                                                                                                                      Net             Net                     Account
                                                                                TOTAL - ALL ACCOUNTS                                Receipts     Disbursements                Balances

                                                                                Checking # ******2566                             873,073.19            434,379.62                   0.00
                                                                                Checking # ******6967                                    0.00            33,228.86          405,464.71
                                                                                Checking # ******6645                               10,225.29            10,225.29                   0.00

                                                                                                                                 $883,298.48           $477,833.77         $405,464.71




{} Asset reference(s)
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                                                        Claims Proposed Distribution
                                   Case: 3:17-07878-CMW LEGACY INTERACTIVE, INC.

  Case Balance:        $405,464.71                   Total Proposed Payment:       $405,464.71                  Remaining Balance:             $0.00

                                                                  Amount           Amount              Paid            Claim         Proposed        Remaining
Claim #   Claimant Name                       Type                 Filed           Allowed            to Date         Balance        Payment           Funds

          SUSAN R. LIMOR,                 Admin Ch. 7              205.63             205.63              0.00           205.63          205.63        405,259.08
          TRUSTEE
          <2200-00 Trustee Expenses>
          Claim Memo:        (See timeslips for breakdown)
          SUSAN R. LIMOR,                 Admin Ch. 7           46,903.66          46,903.66        24,500.00        22,403.66        22,403.66        382,855.42
          TRUSTEE
          <2100-00 Trustee Compensation>
          Claim Memo:        Interim Distribution of $425k (compensable receipts of $425k = $24,500.00).

  01 -2   Department of the Treasury - Unsecured                   100.00             100.00           100.00              0.00             0.00       382,855.42
          Internal Revenue Service
          Claim Memo:        Claim allowed as a general unsecured claim per Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and
                             Order Approving Trustee's Recommendations to Allow and Disallow Claims entered 06/11/19 (Doc 42).

   02     Dallas County                   Priority                 136.35             136.35           136.35              0.00             0.00       382,855.42
          Claim Memo:        Claim reclassified as a priority claim and allowed as a priority claim per 11 U.S.C. Sec. 507(a)(8). See Trustee's Motion to Allow
                             and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to Allow and Disallow Claims
                             entered 06/11/19 (Doc 42).
   03     Metropolitan Government of Priority                     2,889.39          2,889.39         2,889.39              0.00             0.00       382,855.42
          Nashville & Davidson County
          Tenne
          Claim Memo:        Claim reclassified as a priority claim and allowed as a priority claim per 11 U.S.C. Sec. 507(a)(8). See Trustee's Motion to Allow
                             and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to Allow and Disallow Claims
                             entered 06/11/19 (Doc 42).

   04     BRUCE V RAUNER                  Unsecured                  0.00               0.00              0.00             0.00             0.00       382,855.42
          Claim Memo:        1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                             2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                             3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                             Claimant's proportionate interest in the surplus funds.
                             See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                             Allow and Disallow Claims entered 06/11/19 (Doc 42).

                             (no amount claimed listed on form)


   05     VACO NASHVILLE                  Unsecured             51,777.50          51,777.50        51,777.50              0.00             0.00       382,855.42
          Claim Memo:        Claim allowed as a general unsecured claim per Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and
                             Order Approving Trustee's Recommendations to Allow and Disallow Claims entered 06/11/19 (Doc 42).
   06     GCA ADVISORS LLC                Unsecured             16,812.00          16,812.00        16,812.00              0.00             0.00       382,855.42
          Claim Memo:        Claim allowed as a general unsecured claim per Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and
                             Order Approving Trustee's Recommendations to Allow and Disallow Claims entered 06/11/19 (Doc 42).
   07     CT CORPORATION                  Unsecured               6,473.76          6,473.76           640.47          5,833.29          764.11        382,091.31
          Claim Memo:        Claim allowed as a tardy general unsecured claim per 11 U.S.C. Sec. 726(a)(3). See Trustee's Motion to Allow and Disallow
                             Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to Allow and Disallow Claims entered
                             06/11/19 (Doc 42).
  08S     L. Keith Mullins                Unsecured           891,056.00                0.00              0.00             0.00             0.00       382,091.31
          Claim Memo:        Basis for filed claim per Claimant:
                             - $89,518.00 for money loaned ("UNSECURED CLAIM")
                             - $891,056.00 for money invested ("SHAREHOLDER CLAIM")

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                                                       Claims Proposed Distribution
                                   Case: 3:17-07878-CMW LEGACY INTERACTIVE, INC.

  Case Balance:        $405,464.71                  Total Proposed Payment:       $405,464.71                 Remaining Balance:             $0.00

                                                                  Amount           Amount            Paid            Claim         Proposed        Remaining
Claim #   Claimant Name                      Type                  Filed           Allowed          to Date         Balance        Payment           Funds


                             SHAREHOLDER CLAIM (Claim Number 08S):
                             1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                             2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                             3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                             Claimant's proportionate interest in the surplus funds.
                             See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                             Allow and Disallow Claims entered 06/11/19 (Doc 42).


  08U     L. Keith Mullins               Unsecured             89,518.00          89,518.00         8,856.28        80,661.72       10,566.03        371,525.28
          Claim Memo:        Basis for filed claim per Claimant:
                             - $89,518.00 for money loaned ("UNSECURED CLAIM")
                             - $891,056.00 for money invested ("SHAREHOLDER CLAIM")

                             UNSECURED CLAIM (Claim Number 08U): Claim allowed as a tardy general unsecured claim per 11 U.S.C. Sec. 726(a)(3).
                             See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                             Allow and Disallow Claims entered 06/11/19 (Doc 42).
   09     ANTHONY S. JOHNSTON            Unsecured                   0.00              0.00             0.00             0.00             0.00       371,525.28
          Claim Memo:        1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                             2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                             3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                             Claimant's proportionate interest in the surplus funds.
                             See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                             Allow and Disallow Claims entered 06/11/19 (Doc 42).



                             (no amount claimed listed on form)

  10P     Tennessee Department of        Priority                 4,924.98         4,924.98         4,924.98             0.00             0.00       371,525.28
          Revenue
          Claim Memo:        Claim allowed as a priority claim per 11 U.S.C. Sec. 507(a)(8). See Trustee's Motion to Allow and Disallow Claims filed 04/16/19
                             (Doc 37); and Order Approving Trustee's Recommendations to Allow and Disallow Claims entered 06/11/19 (Doc 42).

  10U     Tennessee Department of        Unsecured                1,175.63         1,175.63           116.31         1,059.32           138.76       371,386.52
          Revenue
          Claim Memo:        Claim allowed as a tardy general unsecured claim per 11 U.S.C. Sec. 726(a)(3). See Trustee's Motion to Allow and Disallow
                             Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to Allow and Disallow Claims entered
                             06/11/19 (Doc 42).
   11     RADIUS GGE USA INC             Unsecured             32,229.50          32,229.50         3,188.56        29,040.94         3,804.13       367,582.39
          Claim Memo:        Claim allowed as a tardy general unsecured claim per 11 U.S.C. Sec. 726(a)(3). See Trustee's Motion to Allow and Disallow
                             Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to Allow and Disallow Claims entered
                             06/11/19 (Doc 42).
  12 -2   VANTAGE POINT VENTURE Unsecured                   2,370,947.00       1,954,114.00      193,326.34      1,760,787.66      230,648.82        136,933.57
          PARTNERS 2006 (Q), L.P.
          Claim Memo:        Claim allowed as a tardy general unsecured claim, in the amount of $1,954,114.00, per 11 U.S.C. Sec. 726(a)(3). Balance
                             disallowed. See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's
                             Recommendations to Allow and Disallow Claims entered 06/11/19 (Doc 42).




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                                                  Claims Proposed Distribution
                                Case: 3:17-07878-CMW LEGACY INTERACTIVE, INC.

  Case Balance:     $405,464.71               Total Proposed Payment:          $405,464.71                 Remaining Balance:             $0.00

                                                             Amount             Amount            Paid            Claim           Proposed      Remaining
Claim #   Claimant Name                   Type                Filed             Allowed          to Date         Balance          Payment         Funds

   13     THE FRANYE GOAD             Unsecured           459,861.00                0.00             0.00             0.00             0.00       136,933.57
          JOHNSON 1998
          CHILDREN'S TRUST
          Claim Memo:     1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                          2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                          3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                          Claimant's proportionate interest in the surplus funds.
                          See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                          Allow and Disallow Claims entered 06/11/19 (Doc 42).
  14S     JIM D. KEVER                Unsecured          5,410,308.00               0.00             0.00             0.00             0.00       136,933.57
          Claim Memo:     Basis for filed claim per Claimant:
                          - $673,814.00 for money loaned ("UNSECURED CLAIM")
                          - $5,410,308.00 for money invested ("SHAREHOLDER CLAIM")

                          SHAREHOLDER CLAIM (Claim Number 14S):
                          1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                          2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                          3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                          Claimant's proportionate interest in the surplus funds.
                          See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                          Allow and Disallow Claims entered 06/11/19 (Doc 42).


  14U     JIM D. KEVER                Unsecured           673,814.00          673,814.00        66,662.44       607,151.56        79,531.89        57,401.68
          Claim Memo:     Basis for filed claim per Claimant:
                          - $673,814.00 for money loaned ("UNSECURED CLAIM")
                          - $5,410,308.00 for money invested ("SHAREHOLDER CLAIM")

                          UNSECURED CLAIM (Claim Number 14U): Claim allowed as a tardy general unsecured claim per 11 U.S.C. Sec. 726(a)(3).
                          See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                          Allow and Disallow Claims entered 06/11/19 (Doc 42).
  15S     FRED C. GOAD                Unsecured          1,860,719.00               0.00             0.00             0.00             0.00        57,401.68
          Claim Memo:     Basis for filed claim per Claimant:
                          - $445,048.00 for money loaned ("UNSECURED CLAIM")
                          - $1,860,719.00 for money invested ("SHAREHOLDER CLAIM")

                          SHAREHOLDER CLAIM (Claim Number 15S):
                          1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                          2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                          3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                          Claimant's proportionate interest in the surplus funds.
                          See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                          Allow and Disallow Claims entered 06/11/19 (Doc 42).
  15U     FRED C. GOAD                Unsecured           445,048.00          445,048.00        44,029.93       401,018.07        52,530.09         4,871.59
          Claim Memo:     Basis for filed claim per Claimant:
                          - $445,048.00 for money loaned ("UNSECURED CLAIM")
                          - $1,860,719.00 for money invested ("SHAREHOLDER CLAIM")

                          UNSECURED CLAIM (Claim Number 15U): Claim allowed as a tardy general unsecured claim per 11 U.S.C. Sec. 726(a)(3).

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                                                    Claims Proposed Distribution
                                 Case: 3:17-07878-CMW LEGACY INTERACTIVE, INC.

  Case Balance:       $405,464.71              Total Proposed Payment:           $405,464.71                  Remaining Balance:            $0.00

                                                              Amount             Amount              Paid            Claim         Proposed       Remaining
Claim #   Claimant Name                    Type                Filed             Allowed            to Date         Balance        Payment          Funds
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).
  16S     JAMES P. AYLWARD              Unsecured            66,543.00                0.00             0.00              0.00             0.00        4,871.59
          Claim Memo:      Basis for filed claim per Claimant:
                           - $3,358.00 for money loaned ("UNSECURED CLAIM")
                           - $66,543.00 for money invested ("SHAREHOLDER CLAIM")

                           SHAREHOLDER CLAIM (Claim Number 16S):
                           1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                           2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                           3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                           Claimant's proportionate interest in the surplus funds.
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).


  16U     JAMES P. AYLWARD              Unsecured             3,358.00            3,358.00           332.22          3,025.78          396.35         4,475.24
          Claim Memo:      Basis for filed claim per Claimant:
                           - $3,358.00 for money loaned ("UNSECURED CLAIM")
                           - $66,543.00 for money invested ("SHAREHOLDER CLAIM")

                           UNSECURED CLAIM (Claim Number 16U): Claim allowed as a tardy general unsecured claim per 11 U.S.C. Sec. 726(a)(3).
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).
   17     FRANYE GOAD JOHNSON Unsecured                     459,861.00                0.00             0.00              0.00             0.00        4,475.24
          1999 GENERATION
          SKIPPING TRUST
          Claim Memo:      1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                           2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                           3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                           Claimant's proportionate interest in the surplus funds.
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).
   18     DEANA GOAD DYNASTY            Unsecured         1,054,245.00                0.00             0.00              0.00             0.00        4,475.24
          TRUST
          Claim Memo:      1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                           2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                           3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                           Claimant's proportionate interest in the surplus funds.
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).
   19     First Avenue Partners II LP   Unsecured                  0.00               0.00             0.00              0.00             0.00        4,475.24
          Claim Memo:      1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                           2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                           3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                           Claimant's proportionate interest in the surplus funds.
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).


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                                                     Claims Proposed Distribution
                                  Case: 3:17-07878-CMW LEGACY INTERACTIVE, INC.

  Case Balance:       $405,464.71                 Total Proposed Payment:       $405,464.71                  Remaining Balance:            $0.00

                                                              Amount             Amount             Paid           Claim         Proposed        Remaining
Claim #   Claimant Name                    Type                Filed             Allowed           to Date        Balance        Payment           Funds
                           (No amount listed)
   20     Edward W. Braswell           Unsecured            850,000.00                0.00            0.00              0.00            0.00        4,475.24
          Claim Memo:      1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                           2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                           3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                           Claimant's proportionate interest in the surplus funds.
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).
   21     VantagePoint Venture     Unsecured                 0.00               0.00              0.00             0.00           0.00        4,475.24
          Partners 2006(Q), LP
          Claim Memo: Claim disallowed per Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's
                           Recommendations to Allow and Disallow Claims entered 06/11/19 (Doc 42).
   22     VantagePoint Venture         Unsecured                  0.00                0.00            0.00              0.00            0.00        4,475.24
          Partners 2006(Q), LP
          Claim Memo:      1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                           2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                           3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                           Claimant's proportionate interest in the surplus funds.
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).
   23     VantagePoint Venture         Unsecured          1,173,632.00                0.00            0.00              0.00            0.00        4,475.24
          Partners 2006(Q), LP
          Claim Memo:      1. Claim reclassified as "Surplus Funds Paid to Debtor" per Section 726(a)(6) in the amount of $0.00.
                           2. Claim subordinated to all other allowed administrative, priority, timely filed unsecured and late filed unsecured claims.
                           3. If the distribution results in a surplus, the Trustee will amend her recommendations and allow the claim in the amount of the
                           Claimant's proportionate interest in the surplus funds.
                           See Trustee's Motion to Allow and Disallow Claims filed 04/16/19 (Doc 37); and Order Approving Trustee's Recommendations to
                           Allow and Disallow Claims entered 06/11/19 (Doc 42).
   24     VANTAGEPOINT VENTURE Unsecured                  2,370,947.00                0.00            0.00              0.00            0.00        4,475.24
          PARTNERS 2006 (Q), L.P.
          Claim Memo:      Trustee's Recommendation: Duplicate of Claim 12-2. Therefore, Trustee recommends that claim be disallowed.
                           (Claim filed after Trustee filed her Motion to Allow and Disallow Claims on 04/16/19. See Doc 37.)

  25P     Franchise Tax Board          Priority               1,585.97           1,585.97             0.00           1,585.97       1,585.97        2,889.27
          Claim Memo:      Trustee's Recommendation: Allow claim as a priority claim per 11 U.S.C. Sec. 507(a)(8).

                           (Claim filed after Trustee filed her Motion to Allow and Disallow Claims on 04/16/19. See Doc 37.)

  25U     Franchise Tax Board          Unsecured                184.11             184.11             0.00            184.11           39.95        2,849.32
          Claim Memo:      Claim filed after claims deadline of March 5, 2018 (See Notice filed December 4, 2017). Therefore, allow as a tardy general
                           unsecured claim per 11 U.S.C. Sec. 726(a)(3).

                           (Claim filed after Trustee filed her Motion to Allow and Disallow Claims on 04/16/19. See Doc 37.)

  26P     Texas Controller of Public   Priority               2,687.86           2,687.86             0.00           2,687.86       2,687.86             161.46
          Accounts
          Claim Memo:      Trustee's Recommendation: Allow claim as a priority claim per 11 U.S.C. Sec. 507(a)(8).

                           (Claim filed after Trustee filed her Motion to Allow and Disallow Claims on 04/16/19. See Doc 37.)


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                                                       Claims Proposed Distribution
                                  Case: 3:17-07878-CMW LEGACY INTERACTIVE, INC.

  Case Balance:       $405,464.71                Total Proposed Payment:        $405,464.71                  Remaining Balance:              $0.00

                                                              Amount             Amount             Paid            Claim           Proposed      Remaining
Claim #   Claimant Name                      Type              Filed             Allowed           to Date         Balance          Payment         Funds

  26U     Texas Controller of Public       Unsecured            283.98             283.98             0.00            283.98              61.61          99.85
          Accounts
           Claim Memo:     Claim filed after claims deadline of March 5, 2018 (See Notice filed December 4, 2017). Therefore, allow as a tardy general
                           unsecured claim per 11 U.S.C. Sec. 726(a)(3).

                           (Claim filed after Trustee filed her Motion to Allow and Disallow Claims on 04/16/19. See Doc 37.)

  27P     New York State Department Priority                     82.26              82.26             0.00             82.26              82.26          17.59
          of Taxation & Finance
           Claim Memo:     Trustee's Recommendation: Allow claim as a priority claim per 11 U.S.C. Sec. 507(a)(8).

                           (Claim filed after Trustee filed her Motion to Allow and Disallow Claims on 04/16/19. See Doc 37.)

  27U     New York State Department Unsecured                    81.05              81.05             0.00             81.05              17.59           0.00
          of Taxation & Finance
           Claim Memo:     Claim filed after claims deadline of March 5, 2018 (See Notice filed December 4, 2017). Therefore, allow as a tardy general
                           unsecured claim per 11 U.S.C. Sec. 726(a)(3).

                           (Claim filed after Trustee filed her Motion to Allow and Disallow Claims on 04/16/19. See Doc 37.)


                    Total for Case 317-07878 :           $18,348,390.63     $3,334,385.63      $418,292.77     $2,916,092.86       $405,464.71




                                                                     CASE SUMMARY
                                                    Amount          Amount               Paid            Proposed               % paid
                                                     Filed          Allowed             to Date          Payment

          Total Administrative Claims :          $47,109.29        $47,109.29         $24,500.00        $22,609.29         100.000000%

                 Total Priority Claims :         $12,306.81        $12,306.81          $7,950.72          $4,356.09       100.000000%

             Total Unsecured Claims :        $18,288,974.53     $3,274,969.53        $385,842.05       $378,499.33           23.338885%




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                                  TRUSTEE'S PROPOSED DISTRIBUTION                                         Exhibit D

             Case No.: 3:17-07878-CMW
             Case Name: LEGACY INTERACTIVE, INC.
             Trustee Name: SUSAN R. LIMOR, TRUSTEE
                                                Balance on hand:                            $          405,464.71
              Claims of secured creditors will be paid as follows:

Claim         Claimant                              Claim Allowed Amount Interim Payments                 Proposed
No.                                               Asserted       of Claim          to Date                Payment
                                                      None
                                                Total to be paid to secured creditors:      $                0.00
                                                Remaining balance:                          $          405,464.71

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments           Proposed
                                                                                       to Date          Payment
Trustee, Fees - SUSAN R. LIMOR, TRUSTEE                              46,903.66           24,500.00        22,403.66
Trustee, Expenses - SUSAN R. LIMOR, TRUSTEE                            205.63                   0.00         205.63
                            Total to be paid for chapter 7 administration expenses:         $           22,609.29
                            Remaining balance:                                              $          382,855.42

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments           Proposed
                                                                                       to Date          Payment
                                                      None
                            Total to be paid for prior chapter administrative expenses:     $                0.00
                            Remaining balance:                                              $          382,855.42

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $12,306.81 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                  of Claim          to Date            Payment
  02          Dallas County                                            136.35              136.35              0.00
  03          Metropolitan Government of Nashville &                  2,889.39            2,889.39             0.00
              Davidson County Tenne
  10P         Tennessee Department of Revenue                         4,924.98            4,924.98             0.00
  25P         Franchise Tax Board                                     1,585.97                  0.00       1,585.97


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 26P           Texas Controller of Public Accounts                     2,687.86                  0.00       2,687.86
 27P           New York State Department of Taxation &                    82.26                  0.00          82.26
               Finance
                                                 Total to be paid for priority claims:       $            4,356.09
                                                 Remaining balance:                          $          378,499.33
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 68,689.50 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 100.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                   of Claim          to Date            Payment
 01 -2         Department of the Treasury - Internal                     100.00             100.00                0.00
               Revenue Service
 05            VACO NASHVILLE                                         51,777.50          51,777.50                0.00
 06            GCA ADVISORS LLC                                       16,812.00          16,812.00                0.00
                             Total to be paid for timely general unsecured claims:           $                0.00
                             Remaining balance:                                              $          378,499.33


            Tardily filed claims of general (unsecured) creditors totaling $ 3,206,280.03 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 21.7 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                   of Claim          to Date            Payment
 07            CT CORPORATION                                          6,473.76             640.47            764.11
 08U           L. Keith Mullins                                       89,518.00            8,856.28        10,566.03
 10U           Tennessee Department of Revenue                         1,175.63             116.31            138.76
 11            RADIUS GGE USA INC                                     32,229.50            3,188.56         3,804.13
 12 -2         VANTAGE POINT VENTURE PARTNERS                     1,954,114.00           193,326.34       230,648.82
               2006 (Q), L.P.
 14U           JIM D. KEVER                                         673,814.00            66,662.44        79,531.89


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 15U           FRED C. GOAD                                        445,048.00         44,029.93         52,530.09
 16U           JAMES P. AYLWARD                                       3,358.00           332.22            396.35
 21            VantagePoint Venture Partners 2006(Q), LP                  0.00                0.00               0.00
 24            VANTAGEPOINT VENTURE PARTNERS                              0.00                0.00               0.00
               2006 (Q), L.P.
 25U           Franchise Tax Board                                     184.11                 0.00          39.95
 26U           Texas Controller of Public Accounts                     283.98                 0.00          61.61
 27U           New York State Department of Taxation &                   81.05                0.00          17.59
               Finance
                            Total to be paid for tardy general unsecured claims:          $          378,499.33
                            Remaining balance:                                            $                0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $                0.00




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